UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

—Tristen mercedes “Bindexter ;

 

civ. caseno: | Ui- CN- 142

(to be supplied by Clerk
of the District Court)

 

 

(Enter above the full name of
plaintiff in this action)

Vv.
Sharbus Yoric Roasting
Prone

 

 

 

(Enter above the full name of
the defendant(s) in this action)

COMPLAINT
1. The phintif \WQen_\\\. Winderter a citizen of
the County of Yovic State of
Pennsylvania, residing at S24 NW Dure st Yor PA \rusy

wishes to file a complaint under “THe VA DSuninunahon
(give Title No. etc.)

 

2. The defendantis Q blade Woman

 

3. STATEMENT OF CLAIM: (State below the facts of your case. If you have paper
exhibits that give further information of your case, attach them to this completed form. Use as
much space as you need. Attach extra sheet(s) if necessary)

 
3. (CONTINUED) L Onn hee On\y WVGcie Laverton Catv \
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4, WHEREFORE, plaintiff prays that qy_ COSC, wold be heard

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for _G\\_Gchons Hho has -ecen plore Ganinet me.

 

 

 

 

 

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(Signature of Plaintiff)
